441 F.2d 266
    Lucinda COBB, individually and on behalf of Carl Palmer, etal., etc., Plaintiffs-Appellants,v.The DEPARTMENT OF PUBLIC WELFARE et al., Defendants-Appellees.No. 71-1261. Summary Calendar.**Rule 18, 5th Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part. I.
    United States Court of Appeals, Fifth Circuit.
    May 7, 1971.
    
      Enrique Escarraz, III., R. Lawrence DeFrances, John B. Platt, III, Fort Myers, Fla., for plaintiffs-Appellants.
      S. Strome Maxwell, Asst. Atty. Gen., Michael Schwartz, Robert L. Shevin, Atty. Gen., Tallahassee, Fla., for defendants-appellees.
      Appeal from the United States District Court for the Middle District of Florida; Ben Krentzman, District Judge.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    